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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________________

MARNIE O'BRIEN,                                               :
                          Plaintiff,                          :
                                                              :
                          v.                                  :       Civil No. 2:19-cv-06078-JMG
                                                              :
THE MIDDLE EAST FORUM, et al.,                                :
                  Defendants.                                 :
__________________________________________

                                                      ORDER

        AND NOW, this 25th day of January, 2021, upon consideration of Plaintiff’s Motion for

Reconsideration (ECF No. 77), and pursuant to Fed. R. Civ. P. 60, IT IS HEREBY ORDERED

that Defendant’s Motion is GRANTED. The Court’s Order dated January 19, 2021 (ECF No. 75)

is hereby VACATED and Count II of Plaintiff’s Complaint is reinstated. 1


                                                     BY THE COURT:




                                                     /s/ John M. Gallagher
                                                     JOHN M. GALLAGHER
                                                     United States District Court Judge




1
 The Court advises that Defendants may still challenge any claims under Count II of the Complaint by filing a
motion to dismiss, see Fed. R. Civ. P. 12(h)(3), or within a motion for summary judgment. See Fed. R. Civ. P.
56(a).
